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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE BROILER CHICKEN ANTITRUST
LITIGATION                                           Case No. 1:16-cv-08637

This Document Relates To:

All Actions


                      THE COMMERCIAL AND INSTITUTIONAL
                        INDIRECT PURCHASER PLAINTIFFS’
                           RESPONSE TO FOOTNOTE 16
                      OF THE JOINT STATUS REPORT (ECF 415)

       Pursuant to the Court’s Order dated June 20, 2017, the Commercial and Institutional

Indirect Purchaser Plaintiffs (CIIPs) submit this short response to Footnote 16 in the Defendants’

portion of a recent Joint Status Report (ECF 415). In that footnote, the Defendants argued the

following (ECF 415 at 43, n.16):

       “CIIPs also object to, and refuse to provide, downstream discovery, but they now
       represent that none of the CIIPs sell Broilers. See Exh. G, 6/13/17 Ram Letter to
       Suggs. This representation is curious, since a major basis for the appointment of
       counsel for End User Consumer Plaintiffs in this case was the apparent conflict of
       interest between resellers and end-users. See e.g., Dkt. No. 218 at 4 (“Three cases
       were filed on behalf of indirect purchaser resellers, such as small grocery stores
       and restaurants, which purchase the broilers from distributors and resell them
       ‘Resellers’).”): See also id. at 8 (“Consumers will want to maximize their
       damages by proving that nearly 100% of the overcharges were passed through to
       them. Resellers will want to show that they absorbed most of the overcharges and
       passed through very little.”)”

The Defendants also attached a June 13th Letter that Counsel for the CIIPs sent in connection

with a discovery inquiry (ECF 415 at Exh G, which is also Exh. 1 to this memorandum). While

the Defendants have not asked the Court for a ruling that relates to downstream discovery from

the CIIPs, the CIIPs offer the following discussion of the Defendants’ Footnote 16.

       To be clear, and as we explain below, the CIIP Named Plaintiffs do not resell Broilers.
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   1.      The CIIP Named Plaintiffs Do Not Sell Broilers. As the attached June 13th

Letter advised the Defendants, the CIIP Named Plaintiffs are restaurants, foodservice

operations, and institutions that buy Broilers from wholesalers (such as U.S. Foods or Sysco),

and then transform the Broilers into prepared food (such as a barbecue chicken dinner or a

chicken enchilada plate), and then serve that prepared food (such as to patrons at their

restaurants or residents of their treatment center). The CIIP Named Plaintiffs do not resell

Broilers, as that term is used in this case, because “Broilers” excludes all value-added

products that were manufactured, supplied or processed by anyone other than the Defendants.

(See ECF 253 at ¶¶ 84, 362; ECF 255 at ¶¶ 107, 385.) As soon as one of the CIIPs cooks a

Broiler, it ceases to be a Broiler. None of the CIIP Named Plaintiffs buys Broilers and then

sells them in an unchanged form. (See Exh. 1, attached hereto).

   2.      The End Users Are Not Suing On Food Prepared by the CIIPs. None of the

End User Consumer Plaintiffs are suing to recover damages on any food that was prepared

by the CIIP Named Plaintiffs. Instead, the End User Consumer Plaintiffs are suing to recover

damages they incurred when buying Broilers, and the End User Consumer Plaintiffs are

excluding any purchases of products that were changed by anyone in the distribution chain

after the Defendants’ sold them. (See ECF 255, ¶¶ 107, 385.) The End User Consumer

Plaintiffs will not be proving any pass-through that involves the CIIP Named Plaintiffs,

because the CIIP Named Plaintiffs only sold prepared food. Because the CIIP Named

Plaintiffs do not sell Broilers, there are no Broiler purchases or Broiler sales that are

“downstream” from the CIIP Named Plaintiffs.




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       3.      No One Else Is Suing on Food Prepared by the CIIPs. No plaintiff has filed a

   lawsuit seeking damages on prepared food purchased from the CIIP Named Plaintiffs or from

   any CIIP class member.

       4.      The CIIP Class Definition. In this litigation, the CIIP Named Plaintiffs intend to

   represent a class of purchasers who are similarly situated to themselves. To the extent

   necessary, the CIIPs will narrow their class definition to reflect the proof. Based on what we

   have learned in the case so far, the CIIP Named Plaintiffs intend to represent only a class of

   purchasers that suffered damages when they bought Broilers and then did not sell those

   Broilers in unchanged form. We will offer that narrowed class definition either at class

   certification or an earlier sensible time. And because this narrower class definition will not

   prejudice the Defendants, we do not anticipate any objection.

       5.      Footnote 16 Does Not Fairly Describe the CIIP Named Plaintiffs. Thus,

   Footnote 16 in the Joint Status Report does not provide a complete or accurate picture of

   where the CIIP Named Plaintiffs fit in the market for chicken (or distribution chain for

   Broilers) in the United States. Indeed, Footnote 16 suggests some inconsistency by

   comparing the CIIPs’ June 13th Letter (Exh. 1, hereto) to a brief that the End User Consumer

   Plaintiffs filed last November (ECF 218). The Defendants’ suggestion is a distraction: the

   CIIPs should not be bound by any other person’s description of their business operations.

                                               ####

       For the reasons explained above, the CIIP Named Plaintiffs are not “resellers” of Broilers

-- and are not any other type of intermediary -- between the Direct Purchaser Plaintiffs and the

End User Consumer Plaintiffs on any transaction that is at issue in this litigation.




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Dated: June 23, 2017                  /s/ Thomas A. Doyle
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                                                June 13, 2017
      Via Email
      David H. Suggs
      White &Case LLP
      122] Avenue of the Americas
      New York, NY 10020-1095

              Re:    In re Broiler Chicken Antitrust Litigation, No. 1:16-cv-08637 (N.D. III.)

      Dear David:

             I write on behalf of the Commercial and Institutional Indirect Purchaser Plaintiffs ("C&I
      IPPs") in response to your letter dated June 9, 2017 regarding C&I IPPs' document custodians.
      Below,Irespond to your questions and clarify one point from that letter.
              Fargo Stopping Center, LLC
              One point of clarification to your June 9letter as respects Fargo Stopping Center. After
      further consultation with Fargo Stopping Center, we learned that Fargo Stopping Center does not
      sell Broilers (as the term is defined in C&I IPPs' operative Third Amended Consolidated Class
      Action Complaint, ¶ 84, Dkt. 253). The only chicken products sold by Fargo Stopping Center are
      not Broilers.
             In response to your question about Dianne Schatz: C&I IPPs will not add Dianne Schatz
      as a custodian. She is not likely to have any information relating to Broilers because all of Fargo
      Stopping Center's relevant documents are in centralized files.
              OneHarvest Cor[~oration
              We have further investigated and determined that Jacob Prather is not likely to have
      information relating to Broilers and C&I IPPs therefore will not add him as a custodian.

              Custodians with Information about C&I IPPs Downstream Use of Broilers

             Simply put, none of the C&I IPP plaintiffs sell Broilers. Some C&I IPP Plaintiffs sell
      prepared chicken made from Broilers (e.g., a chicken dinner), while others use Broilers in their
      business and have no chicken-related sales. Defendants' requests for production did not seek
      documents targeted at this category of sales and C&I IPPs will not add custodians with
      information about these sales of prepared chicken.
             C&I IPPs' use of Broilers in selling prepared chicken is irrelevant to this action. Even if
      there were a case where an indirect purchasers' downstream sales information were relevant —
      which C&I IPPs do not concede —this is not that case. The "End User Consumer Plaintiffs"
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    (GUCPs) claims are grounded in tf~eir purchase of L3roilcrs and ►got an}~ other non-Broiler chicken
    product. Because LUCPs eird rrot and could irol ltn~~~.~ purchased Broilers Troi~l .m}' of the C~~:l
    IPPs, no member of the F,UCP class vas actually (flr potentially) a do~~~nstream purchaser from
    any of the C&I 1PPs. For this reason, Defcnclants' position, outlined on paS~s 3 to 4 of }your Junc
    9 letter, begins with a falsz premise, aild reliance on the cases there cited is ~l~isplaced.
            C&I 1PYs want to ensure that Defendants v~e not prejudiced come time iar class
    certification. Accordinily, eve remain open to furil~er meet and confer el~(orls to determine ~~~hich
    categories of infom~ation Defendants need to meaningfully challenDe individual plaintiffs'
    sho~+~~in~ as to typicality and adequacy. We examined the one case Defendants cite on this point.
    Irr rc~ U~•ellrcr~~c ,9 nlilr•rrs1Iifig., 2;7 F.R.D. 454 (D. Kan. 2006), and did ~lcri find it~ti discussion i>i~
    the relevance of direct ~urchusers' documents illuminating to C&I I1'Ps' circumstances.

                                                        Sincerely,

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                                                        Mirk T'. Rangy          ~`~


    Ce:     C&I 1PP Interim Lead and Liaison Counsel
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                               CERTIFICATE OF SERVICE


       I certify that, on June 23, 2017, I caused a copy of the foregoing document to be served

via the Court’s ECF system on all Counsel who have appeared in the case.




                                                    /s/ Thomas A Doyle
                                                    ___________________________

                                                    Thomas A. Doyle
